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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

GENBIOPRO, INC.                                                                       PLAINTIFF

V.                                                 CIVIL ACTION NO. 3:20-CV-652-HTW-LGI

DR. THOMAS DOBBS, State Health
Officer of the Mississippi Department of
Health, in his official capacity                                                    DEFENDANT


                                               ORDER



       Before this Court is a Motion to Dismiss [Docket no. 8], filed by the Defendant, Dr.

Thomas Dobbs, in his official capacity as State Health Officer of the Mississippi Department of

Health (“Defendant”). On July 1, 2022, this court received correspondence from Plaintiff

GenBioPro, Inc.’s counsel requesting this court delay its ruling on Defendant’s Motion to

Dismiss until it has had a chance to amend its Complaint. Said correspondence is attached hereto

as Exhibit “A”.

       This court recognizes that, in light of the late nature of the correspondence and the

upcoming holiday weekend, Defendant may not yet have had the opportunity to review

Plaintiff’s request. This court, having previously announced its desire to publish its written Order

regarding the Motion to Dismiss within the upcoming week, asks Defendant to respond to

Plaintiff’s e-mail by July 8, 2022, if it so chooses.

               SO ORDERED, this the 1st day of July, 2022.

                                                        /s/HENRY T. WINGATE__________
                                                        UNITED STATES DISTRICT JUDGE
